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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  Joan R. Hurd                                   CIVIL ACTION
  Plaintiff

                   vs.

  Palisades Collection LLC and                   NO. 08-2155
  Palisades Acquisition V, LLC.
  Defendant



                                  NOTICE OF DISMISSAL


         PLEASE TAKE NOTICE that plaintiff, JOAN R. HURD, pursuant to Rule

  41(a)(1)(i) of the Rules of the United States District Court, hereby dismisses the action

  captioned above, with prejudice.




                                BY:_/s/ Bruce K. Warren
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